Case 1:18-cr-00406-AT-LTW Document 61 Filed 11/03/23 Page 1 of 3

FLEDIN CLERKS OFFICE
D.C. Atlanta
IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA NOV - 2 2023
. KEVIN P WEIMER, Clerk
NRE: : BY: M Hews Deputy Clerk
RETROACTIVE APPLICATION OF ADMINISTRATIVE ORDER
AMENDMENT 821 OF THE SENTENCING __- NO. 23-07

GUIDELINES RELATED TO U.S.S.G. First Amendment
§§ 4A1.1(e) AND 4C1.1

UPON CONSIDERATION of a joint proposal submitted by the United States Attorney’s
Office, the Federal Defender Program, Inc., and the United States Probation Office for the
Northern District of Georgia;

UPON REVIEW of Amendment 821 of the United States Sentencing Guidelines, which
amends the text in U.S.S.G. §§ 4A1.1 and 4C1.1 and grants authority to district courts to grant
defendants’ motions for retroactive reductions in sentence pursuant to 18 U.S.C. § 3582(c)(2);

RECOGNIZING that no defendant may be released under Amendment 821 until February
1, 2024, and recognizing that this delay will allow judges, the Bureau of Prisons, and the United
States Probation Office adequate time to review defendants’ cases and, for those defendants
eligible for release, ensure that each prisoner receives appropriate transitional services—including
placement in halfway houses—to help increase the chances of successful reentry into society;

IT IS HEREBY ORDERED pursuant to the provisions of the Criminal Justice Act, 18
U.S.C. §§ 3006A(a)(1) and (c), that the Federal Defender Program, Inc., is appointed to review the
file of each defendant on the United States Sentencing Commission’s list and every other
defendant who files in this Court a pro se motion for a reduction in sentence under Amendment
821 and 18 U.S.C. § 3582(c)(2). The Federal Defender Program also is appointed to review the
case of each defendant who files a motion to appoint counsel to pursue such a motion or who

directly contacts the Court or the Federal Defender Program asking whether he or she is eligible
Case 1:18-cr-00406-AT-LTW Document 61 Filed 11/03/23 Page 2 of 3

for a reduced sentence under the amended guideline. The Federal Defender Program will ascertain
each defendant’s eligibility for relief and whether a conflict of interest precludes it from
representation. The Federal Defender Program must notify the Court upon identifying a prohibitive
conflict in which the prospective client’s interests are materially adverse to those of a current or
former client, and the Court will consider appointing a member of the Criminal Justice Act panel
of this District. The Federal Defender Program also must send a letter to each defendant whose
case is reviewed through this order that explains the limited scope of this appointment and that the
defendant may decline or opt out of the representation;

IT ALSO IS ORDERED that upon request, the United States Probation Office will
provide the Federal Defender Program, counsel who have been retained by defendants, and the
United States Attorney’s Office a copy of the Presentence Report and Statement of Reasons for
each defendant’s case reviewed through this administrative order, plus a comparison of the
defendant’s initial sentencing guidelines calculations and the amended guidelines calculations so
that all parties have the information needed to file their pleadings;

IT ALSO IS ORDERED that the United States Attorney’s Office, in conjunction with the
Federal Defender Program and the United States Probation Office, must, when practicable,
prioritize defendants by release date. For example, the parties will prioritize the review of motions
for eligible defendants with projected release dates in 2024, then review all eligible defendants
scheduled for release in 2025, and so on, until all eligible defendants' motions have been reviewed;

IT IS FURTHER ORDERED that all motions already filed by, and those filed in the
future by, defendants seeking relief under Amendment 821, be STAYED until February 1, 2024,

after which those motions will be addressed in the order outlined above.
Case 1:18-cr-00406-AT-LTW Document 61 Filed 11/03/23 Page 3 of 3

SO ORDERED this A4 day of ple vem 2

Nh C. Qa

HON. TIMOTHY C. BATTEN, SR.
CHIEF UNITED STATES DISTRICT JUDGE

Prepared and Presented By:

Ryan K. Buchanan, United States Attorney

Stephanie A. Kearns, Executive Director,
Federal Defender Program, Inc.

Copy to:

Donna M. High, Chief United States Probation Officer
